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14
                                        SAN FRANCISCO DIVISION
15

16   UNITED STATES OF AMERICA,                         )   CASE NO. 20-CR-00249 RS
                                                       )
17           Plaintiff,                                )   UNITED STATES’ EX PARTE APPLICATION
                                                       )   AND ORDER PERMITTING DISCLOSURE OF
18      v.                                             )   GRAND JURY TRANSCRIPTS
                                                       )
19   ROWLAND MARCUS ANDRADE,                           )
                                                       )
20           Defendant.                                )
                                                       )
21                                                     )

22           The United States respectfully requests an Order under Federal Rule of Criminal Procedure
23 6(e)(3)(E)(i) authorizing the government to provide defendant’s counsel transcripts of the grand jury

24 testimony of three civilian witnesses. The trial in this matter is scheduled to begin on February 11, 2025.

25           The secrecy provisions of Federal Rule of Criminal Procedure 6(e) provide in part that: “The court
26 may authorize disclosure—at a time, in a manner, and subject to any other conditions that it directs—of a
27 grand-jury matter . . . (i) preliminarily to or in connection with a judicial proceeding.” Fed. R. Crim. P.

28 6(e)(3)(E)(i). In U.S. Industries, Inc. v. United States District Court, 345 F.2d 18 (9th Cir.), cert. denied,

     EX PARTE APPL. AND ORDER PERMITTING DISCL. OF GRAND JURY TRANS. 20-CR-00249                               1
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 1 382 U.S. 814 (1965), the Ninth Circuit held that when the reasons for the policy of secrecy “do not apply

 2 at all in a given situation, or apply to only an insignificant degree, the party seeking disclosures should

 3 not be required to demonstrate a large compelling need.” Id. at 21. The Ninth Circuit listed five policy

 4 considerations underlying the need for grand jury secrecy:

 5
                   (1) To prevent the escape of those whose indictment may be contemplated;
 6                 (2) to insure the utmost freedom to the grand jury in its deliberations, and
                   to prevent persons subject to indictment or their friends from importuning
 7                 the grand jurors; (3) to prevent subornation of perjury or tampering with the
 8                 witnesses who may testify before the grand jury and later appear at the trial
                   of those indicted by it; (4) to encourage free and untrammeled disclosures
 9                 by persons who have information with respect to the commission of crimes;
                   (5) to protect the innocent accused who is exonerated from disclosures of
10                 the fact that he has been under investigation, and from the expense of
                   standing trial where there was no probability of guilt.
11

12 Id. at 22 (quoting United States v. Amazon Ind. Chem. Corp., 55 F.2d 254 (D. Md. 1931)).

13          In this case, the policy considerations requiring secrecy over the transcripts apply with diminished
14 force. The matter is set soon to proceed to trial. See In re William H. Pflaumer & Sons, Inc., 53 F.R.D.

15 464, 470 (E.D. Penn. Oct. 14, 1971) (stating that “once a grand jury has concluded its work, the courts

16 have, to some degree, relaxed the secrecy principle”). At trial, disclosing the testimony of three civilian

17 witnesses presented to the grand jury would not implicate these policy concerns. Moreover, disclosure of

18 the grand jury testimony is in the interest of justice because it will permit defendant’s counsel to have

19 potential Jencks Act materials before trial pursuant to 18 U.S.C. § 3500.

20

21 DATED: January 7, 2025                                        Respectfully submitted,
22
                                                                 ISMAIL J. RAMSEY
23                                                               United States Attorney
24
                                                                   /s/
25                                                               CHRISTIAAN HIGHSMITH
                                                                 DAVID WARD
26                                                               Assistant United States Attorneys
27                                                               MATTHEW CHOU
28                                                               Special Assistant United States Attorney

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 1

 2                                                    ORDER

 3          Pursuant to Federal Rule of Criminal Procedure 6(e)(3)(E)(i), the United States may supply

 4 counsel for the defendant in this case with three transcripts of the grand jury testimony of civilian

 5 witnesses presented to the grand jury in the investigation that led to this case.

 6          IT IS SO ORDERED.

 7
           January 7, 2025
 8 DATED: _____________________
                                                                  HON. RICHARD SEEBORG
 9                                                                Chief United States District Judge
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     EX PARTE APPL. AND ORDER PERMITTING DISCL. OF GRAND JURY TRANS. 20-CR-00249                       3
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